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                               UNITED STATES DISTRICT COURT
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                                       DISTRICT OF NEVADA
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 7   JEROMY OELKER,
                                                            Case No. 2:24-cv-01183-NJK
 8          Plaintiff(s),
                                                                      Order
 9   v.
10   JUDGE RICHARD F. BOULWARE,
11          Defendant(s).
12         With good cause appearing, the Honorable Magistrate Judge Nancy J. Koppe recuses
13 herself in this action. IT IS ORDERED that this action is referred to the Clerk for random
14 reassignment of this case for all further proceedings.
15         IT IS SO ORDERED.
16         Dated: June 28, 2024
17                                                           ______________________________
                                                             Nancy J. Koppe
18                                                           United States Magistrate Judge
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